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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 ¢ -;
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-27%).

MBL 2179 SECTION: J

filed in MDL No. 2179 (40 md 2179).

: Last Name First Name | Middle Name/Maiden Suffix
~ Phone Number - . E-Mail Address
_ (251) 767-5520 co miasaterbarrett@gmail.com
Address City / State / Zip
203 Bellevue Circle Mobile, AL 36608
ne,
INDIVIDUAL CLAIM [m] : BUSINESS CLAIM CJ
Employer Name ors ate statu tinaninat nitiannnnntmanesie ee Name tite
WA
Job Title / Description Type of Business
“Address — ~ Address
City! State / Zip cesta sununmseiie pe anit useueuneue ee ee city State / Zip co vvtmmminmnewinr sy) etatueaeuen tatantaisaueaien eee 00 en
Last 4 digits of your Sociai Security Number Last 4 digits of your Tax ID Number
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eee ee eee ee
Attorney Name : Firm Name
JEFF FRIEDMAN a FRIEDMAN LEAK
Address City / State / Zip
3800 CORPORATE WOODS DRIVE BIRMINGHAM, AL 35243
Phone Number E-Mail Address
(205) 278-7000 | jfriedman@friedmanleak.com /mconn@friedmanleak.com
a
| Ctaim filed with BP? Yes NO i Claim Filed with GCCF?: YES ml NO FE]
If yes, BP Claim No.: if yes, Claimant Identification No.:

Claim Type (Please check all that apply):

Damage or destruction to real or personal property
oO Earnings/Profit Loss
oO Personal Injury/Death

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

oOn00

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form [s ta be filed in CA No. 10-8888, by prior arder of the Court, {Rec. Doc. 246, C.A. No, 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronicaily by the Clerk of Court af the filing of this Short Form, shail pramptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For eamings/profit loss, property damage and joss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property jocation, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 154 Ethel Wingate Drive 507, Pensacola, Escambia
County, Florida 32507

2. For personal iniury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff fo file a Plaintiff Profile Form.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmentat Economic Loss and Property Damage Claims (Bundle B1)

Ot. Commercial fisherman, shrimper, crabber, or oysterman, ar the owner and operator of a business involving fishing, shrimping,
crabbing or oystering,

O 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

0 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

OO 4. Commercial business, business owner, operator ar worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

O15. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
CO 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

{s] 7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

{] 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
OO 3. Bank, financial institution, or retail business that suffered losses as a resutt of the spill.

CJ 10. Person who utilizes natural resources for subsistence.

CJ it. Other:
Post-Explosion Personai Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
LC] 1. Boat captain or crew involved in the Vessels of Opportunity program.

O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

O 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions curing post-explosion clean-up activities.

C1 4. Clean-up worker or beach personne! involved in clean-up activities along shorelines and intercoastal and intertidal zones.
Cs. Resident who lives or works in close proximity to coastal waters.

Cl 6. Other:

Both BP and the Gulf Coast Claims Facility (“GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality {Pre-Trial Order No. 11), and subject to full copies of same being made available to both

te" if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

eS Thedtmon

Print Name

UW A\\

Date

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The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of a Plaintiff to file a Plaintift Profile Form.
